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 2                                      UNITED STATES DISTRICT COURT
 3                                   NORTHERN DISTRICT OF CALIFORNIA
 4
     REALPAGE, INC.,
                                                          CASE NO. 3:25-cv-03004-JSC
 5

 6                              Plaintiff,                [PROPOSED] ORDER RE JOINT
                                                          STIPULATION
 7
             v.
 8
     THE CITY OF BERKELEY, CALIFORNIA,
 9   and PAUL BUDDENHAGEN, CITY
     MANAGER OF BERKELEY, CALIFORNIA,
10   in his official capacity,
11
                                Defendants.
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14           Upon consideration of the parties’ Joint Stipulation to Stay Enforcement of Ordinance and to
15   Vacate Pending Deadlines, it is HEREBY ORDERED that the pending case management deadlines
16   and case management conference currently set for July 24, 2025 are vacated. To the extent the parties’
17   efforts to resolve this dispute are not successful, the parties shall notify the Court by November 30,
18   2025. The parties’ notice shall include a request for a case management conference to discuss next
19   steps in the litigation.
20           IT IS SO ORDERED.
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      Dated:
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